                9:21-cv-00158-MBS                 Date Filed 05/05/21         Entry Number 13           Page 1 of 1

AO 450 (SCD 04/2010) Judgment in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                       District of South Carolina


                 Roberto Colon Santiago,                               )
                             Plaintiff                                 )
                         v.                                            )     Civil Action No.      9:21-cv-158-MBS
   Andrea Venezio and Sapphire Health Group, LLC,                      )
                           Defendant                                   )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

   the plaintiff (name)                  recover from the defendant (name)             the amount of                 dollars ($   ),
which includes prejudgment interest at the rate of             %, plus postjudgment interest at the rate of          %, along with
costs.
   the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                            .
    other: Defendants Andrea Venezio and Sapphire Health Group, LLC's motion to dismiss is granted and the
complaint is dismissed without prejudice.


This action was (check one):
   tried by a jury, the Honorable                           presiding, and the jury has rendered a verdict.

   tried by the Honorable                         presiding, without a jury and the above decision was reached.

   decided by the Honorable Margaret B. Seymour, Senior United States District Judge.


Date: May 5, 2021                                                          CLERK OF COURT


                                                                                                 s/ V. Druce
                                                                                        Signature of Clerk or Deputy Clerk
